In denying the petition for a rehearing of the motion to dismiss the appeal in this case, we deem it proper to say what we have already substantially said several times from the bench, that we are satisfied it must be held that the amendment of our Code of Civil Procedure in the year 1915 [Stats. 1915, p. 209, Code Civ. Proc., sec. 963] abolishing the right of appeal from an order denying a new trial, *Page 441 
is necessarily applicable in every case where such order was made subsequent to the date of the taking effect of the amendment, regardless of whether the proceeding for a new trial was initiated prior to or subsequent to such date. It is the condition of the law at the time of the making the order that controls. We are unable to see that the effect of such a ruling can be in any case to deprive the party seeking a new trial of any right given him by the state constitution.
Sloss, J., Shaw, J., Melvin, J., and Lawlor, J., concurred.